Case 2:O4-cr-20511-.]DB Document 22 Filed 07/20/05 Page 1 of 2 Page|D 38

 

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YvoNNE N. wlLsoN NO. 04cr20511-D

 

MOTIONS TO (l) CONTINUE REPORT DATE (2) WAIVE DEFENDANT’S
PRESENCE (3) ALLOW DEFENDANT TO APPEAR TELEPHONICALLY OR BY
VIDEO AT THE NEXT REPORT DATE

 

COMES NOW your Defendant, Yvonne N. Wilson by and through her Attomey
of Record, Knut S. Johnson, and would respectfully request this Honorable Court to
CONTINUE THE REPORT DATE OF JULY 21, 2005. Defendant brings this motion
because the United States and the Det`endant Will not be able to meaningfully report to
this Court on July 21, 2005 because of the following:

¢ The parties are still engaged in discovery
WHEREFORE, PREMISES CONSIDERED, your Defendant respectfully

requests this Honorable Court to continue the Report Date approximately 30 days, to

waive the defendant’s appearance, mmll€W-Fhe-defmdanm.appwtelephmmm,f@©
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THE UNITED STATES has advised it has no objections to the requests
RESPECT§HLLYSUBMITTED,

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- Fw/ sen Diego, CA 91911
(619) 232_7080

 

 
    

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BERNICE BOU|E DGNALD
U.S. DISTRICT JUDGE

 

Th|s document entered on the docket en et tn compliance
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wlth Rule 55 and/or 32(b) FRCrF on

    
 

UNITED sTATE DISIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CR-20511 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
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Ste. 800

1\/1emphis7 TN 38103

Knut S. Johnson

LAW OFFICE OF KNUT S JOHNSON
1010 Second Ave

Ste 1850

San Diego7 CA 92101

Honorable Bernice Donald
US DISTRICT COURT

